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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Scott McKenzie,                           )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )       No.     12 C 6472
                                          )
Richard J. Boudreau & Associates,         )
LLC, Massachusetts limited liability      )
company, and Mercantile Adjustment        )
Bureau, LLC, a New York limited liability )
company,                                  )
                                          )
      Defendants.                         )       Jury Demanded

                                       COMPLAINT

       Plaintiff, Scott McKenzie, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt

collection actions violated the FDCPA, and to recover damages for Defendants’

violations of the FDCPA, and alleges:

                              JURISDICTION AND VENUE

       1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.     Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendants transact business here.

                                         PARTIES

       3.     Plaintiff, Scott McKenzie ("McKenzie"), is a citizen of the State of Illinois,

residing in the Northern District of Illinois, from whom Defendants attempted to collect a

delinquent consumer debt allegedly owed to RBS Card Services.

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       4.     Defendant, Richard J. Boudreau & Associates, LLC ("Boudreau") is a

Massachusetts limited liability company that acts as a debt collector, as defined by §

1692a of the FDCPA, because it regularly uses the mails and/or telephone to collect, or

attempt to collect, delinquent consumer debts, including delinquent consumer debts in

the Northern District of Illinois. In fact, Boudreau was acting as a debt collector as to

the debt it attempted to collect from Plaintiff.

       5.     Defendant, Mercantile Adjustment Bureau, LLC ("Mercantile") is a New

York limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or telephone to collect, or attempt to

collect, delinquent consumer debts, including delinquent consumer debts in the

Northern District of Illinois. In fact, Mercantile was acting as a debt collector as to the

debt it attempted to collect from Plaintiff.

       6.     Defendant Mercantile is authorized to conduct business in the State of

Illinois and maintains a registered agent within the State of Illinois, see, record from the

Illinois Secretary of State attached as Exhibit A. In fact, both Defendants, Mercantile

and Boudreau, conduct extensive and substantial business in Illinois.

       7.     Defendant Mercantile is licensed as a debt collection agency in the State

of Illinois, see, record from the Illinois Division of Professional Regulation attached as

Exhibit B. In fact, both Defendants act as a collection agencies in Illinois.

                                 FACTUAL ALLEGATIONS

       6.     Mr. McKenzie fell behind on paying his RBS Card Services debt and

Defendant Mercantile thereafter began attempting to collect the RBS Card Services

debt. On September 15, 2011, Defendant Mercantile sent Mr. McKenzie a collection

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letter stating that the Balance was $14,480.08. A copy of this collection letter is

attached as Exhibit C.

       7.     Less than a month thereafter, Defendant Boudreau began to attempt to

collect the RBS Card Services debt. On October 12, 2011, Defendant Boudreau sent

Mr. McKenzie an initial form debt collection letter which stated the Balance was

$14,068.10, or $412.70 less than what Defendant Mercantile was attempting to collect

one month ago, even though Mr. McKenzie had not made any payments on the

account. A copy of this letter is attached as Exhibit D.

       8.     All of the collection actions at issue occurred within one year of the date of

this Complaint.

       9.     Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                      Violation Of § 1692e(2)(A) Of The FDCPA –
                    Falsely Representing The Amount Of The Debt

       10.    Plaintiff adopts and realleges ¶¶ 1-9.

       11.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt, including, but not limited to, the false representation of the character, amount

or legal status of any debt, see 15 U.S.C. § 1692e(2)(A).

       12.    Either Defendant Mercantile falsely stated the amount of the debt that was

owed in its September 15, 2011 letter, or Defendant Boudreau falsely stated the amount

of the debt in its October 12, 2011 letter – both amounts cannot be correct. Thus,

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Defendants’ statements as to the amount of the debt were false representations of the

amount of the debt, in violation of § 1692e of the FDCPA.

         13.   Defendants’ violations of § 1692e of the FDCPA render them liable for

actual and statutory damages, costs and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                            COUNT II
                                   Violation of § 1692g(a)(1) --
                                False Statement Of Amount Owed

      14.      Plaintiff adopts and realleges ¶¶’s 1-9. This Count II is brought solely

against Defendant Boudreau.

      15.      Section 1692g requires that, within five days of a debt collector’s initial

communication with a consumer in connection with the collection of any debt, that the

debt collector provide the consumer with written notice of certain information, including

“(1) the amount of the debt;”, see, 15 U.S.C. § 1692g(a)(1); see also, Miller v. McCalla,

Raymer, Padrick, Cobb, Nichols and Clark, L.L.C., 214 F.3d 872, 875-876 (7th Cir.

2000); Veach v. Sheeks, 316 F.3d 690, 693-694 (7th Cir. 2003).

      16.      By falsely stating the amount of the debt in its initial form collection letter,

Defendant Boudreau violated § 1692g(a)(1) of the FDCPA.

      17.      Defendant Boudreau’s violation of § 1692g(a)(1) of the FDCPA renders it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. (See, 15

U.S.C. § 1692k).

                                   PRAYER FOR RELIEF

      Plaintiff, Scott McKenzie, prays that this Court:

      1.       Find that Defendants’ collection actions violate the FDCPA;

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       2.     Enter judgment in favor of Plaintiff, and against Defendants, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

   Plaintiff, Scott McKenzie, demands trial by jury.
                                                     Scott McKenzie,


                                                     By: /s/ David J. Philipps______
                                                     One of Plaintiff’s Attorneys

Dated: August 15, 2012

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